Case 1:20-cr-O0003-KPF Document 137 Filed 11/06/20 Page 1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

X
UNITED STATES OF AMERICA,
WAIVER OF RIGHT TO BE PRESENT
wv AT CRIMINAL PROCEEDING
Kowan Poole, 20 -cR- 003
Defendant.
X

Check Proceeding that Applies

ae, a

Date:

Entry of Plea of Guilty

tam aware that I have been charged with violations of federal law. | have consulted with my
attorney about those charges. | have decided that | wish to enter a plea of guilty to certain
charges. | understand | have a right to appear before a judge in a courtroom in the Southern
District of New York to enter my plea of guilty and to have my attorney beside me as | do. | am
also aware that the public health emergency created by the COVID-19 pandemic has interfered
with travel and restricted access to the federal courthouse. | have discussed these issues with my
attorney. By signing this document, | wish to advise the court that | willingly give up my right to
appear in person before the judge to enter a plea of guilty. By signing this document, | also wish
to advise the court that | willingly give up any right | might have to have my attorney next to me
as | enter my plea so long as the following conditions are met. | want my attorney to be able to
participate in the proceeding and to be able to speak on my behalf during the proceeding. | also
want the ability to speak privately with my attorney at any time during the proceeding if | wish to
do so,

___Kowan Poole
Print Name Signature of Defendant

 

 

Sentence

| understand that | have a right to appear before a judge in a courtroom in the Southern District
of New York at the time of my sentence and to speak directly in that courtroom to the judge who
will sentence me. | am also aware that the public health emergency created by the COVID-19
pandemic has interfered with travel and restricted access to the federal courthouse. | do not wish
to wait until the end of this emergency to be sentenced. | have discussed these issues with my
attorney and willingly give up my right to be present, at the time my sentence is imposed, in the
courtroom with my attorney and the judge who will impose that sentence. By signing this
document, | wish to advise the court that | willingly give up my right to appear in a courtroom in
the Southern District of New York for my sentencing proceeding as well as my right to have my

 

 

 
Case 1:20-cr-00003-KPF Document 137 Filed 11/06/20 Page 2 of 3

attorney next to me at the time of sentencing on the following conditions. | want my attorney to
be able to participate in the proceeding and to be able to speak on my behalf at the proceeding.
| also want the ability to speak privately with my attorney at any time during the proceeding if |
wish to do so.

Date:

 

 

Print Name Signature of Defendant

| hereby affirm that ! am aware of my obligation to discuss with my client the charges against my client,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and
this waiver and consent form. | affirm that my client knowingly and voluntarily consents to the
proceedings being held with my client and me both participating remotely.

Date: Lloyd Epstein Lloyd peti

Print Name Sigrfature of Defense Counsel
) /

b/d

Date:

 

Signature of Defense Counsel

Accepted: ‘Mh bbl. fal Co

Signature of Judge

Date: "10/020

 
Case 1:20-cr-O0003-KPF Document 137 Filed 11/06/20 Page 3 of 3

   

he federal eines I do: not wish to wait until the en
: of this « emergency to be sentenced, J have discussed th es
issues with my attorney and willingly give up: my right t oo.
- 7 be. present, at the time my sentence is imposed, in the
a _ courtroom with my attorney and the judge who willimpose
that sentence. By signing this document, I wish to advise .
a the court that. I willingly give up my right to appear ina
— courtroom in the Southern District of New ‘York for my a
sentencing proceedir 2 as is m | a.
auoey next to ‘me at. ‘the time. of sentencing « on ‘the

 
  
  

   
   

 

 

 

 

 

 

Ww aiver, and this waiver or ane COr

 

 
